Case 4:17-cv-00431-GKF-JFJ Document 96 Filed in USDC ND/OK on 02/28/19 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   KELLY L. FOUTCH, administrator of the
   Estate of RUSSELL TED FOUTCH,
   deceased,

                  Plaintiff,

   v.
                                                      Case No. 17-CV-431-GKF-JFJ
   TURN KEY HEALTH, LLC d/b/a TURN
   KEY MEDICAL, and TURN KEY; CREEK
   COUNTY PUBLIC FACILITIES
   AUTHORITY; JANE DOE NURSE I;
   JANE DOE NURSE II; and JOHN/JANE
   DOES III–X,

                  Defendants.

                   JUDGMENT OF DISMISSAL WITHOUT PREJUDICE

         In accordance with the court’s Order [Doc. 92] of February 22, 2019, which conditionally

  granted plaintiff’s Motion to Dismiss All Remaining Defendants without Prejudice pursuant to

  Rule 41(a)(2) of the Federal Rules of Civil Procedure, and the Notice of Plaintiff’s Acceptance of

  Conditions [Doc. 94], the court hereby enters judgment as follows:

         IT IS ORDERED, ADJUDGED, AND DECREED that all remaining claims asserted in

  this action are dismissed without prejudice; and

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, if plaintiff elects to file

  a subsequent action based on or including the same claim(s) against the same defendant, the

  following conditions shall apply:

             1. Plaintiff must file the subsequent action no later than February 28, 2020;

             2. In the event the subsequent action is filed in or removed to the United States District

                 Court for the Northern District of Oklahoma, the action shall be reassigned to the
Case 4:17-cv-00431-GKF-JFJ Document 96 Filed in USDC ND/OK on 02/28/19 Page 2 of 2




              undersigned for purposes of judicial economy, as this court has extensive

              knowledge and experience with this case;

           3. The parties in the subsequent action may utilize all discovery conducted and

              obtained in this case, subject to the court’s rulings on use and admissibility, and no

              duplicative discovery shall be permitted;

           4. Plaintiff may assert only the current claims against the current defendant, except

              that plaintiff may seek leave of court to add other claims or defendants for good

              cause;

           5. Any taxable costs incurred by defendant in this action shall be taxed against

              plaintiff in the subsequent action in the event defendant prevails; and

           6. At the end of the subsequent action, defendant may seek reimbursement from

              plaintiff for a reasonable amount of any duplicative attorneys’ fees or expenses

              incurred by defendant as a result of plaintiff’s voluntary dismissal and refiling.

        ENTERED this 28th day of February, 2019.




                                                2
